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                                                                                     Filed in U.S. Bankruptcy
                                                                                           Atlanta, Georgia Court
               IN THE UNITED STATES BANKRUPTCY COURT OF THE                            M. Regina Thomas,
                                                                                                          Clerk
                      NORTHERN DISTRICT OF GEORGIA
                                                                                           PR 0 8 2021
                                                                                    By
                                                                                           Deputy Clerk


  CASSANDRA JOHNSON-LANDRY                                                  CHAPTER 7
  DEBTOR                                                                   BRC 18-55697LRC




  COUNTER RESPONSE TO TRUSTEE TO DEBTOR'S OBJECTION TO
  APPLICATION OF COUNSEL TO THE TRUSTEE FOR COMPENSATION



         Debtor, Cassandra Johnson-Landry received Order and Notice of Rescheduled Hearing

  dated March 24, 2021 on March 31, 2021, Debtor, FIRMLY objects. Within the Order it stated

  Debtor's presence was unknown. Debtor's presence was known during the calendar call. Based

  on previous Telephonic Hearing and In-Person Hearings, if an associated party to ANY

  bankruptcy case was not presence, the assigned Judicial Clerk to the assigned Judge would call

  the calendar at minimum twice. If required parties are not present said Judicial Clerk would

  instruct which action to take place or a request to reschedule by a Trustee or Legal Counsel

  would follow.

         If Debtor was experiencing technical difficulties with her phone, Debtor's ability to listen

  and identify those parties which were present would have been impossible. Debtor, would have

  also followed all court directives such as calling back into the provided number with required

  code if there was a disconnect. However, there was no disconnection nor technical issues

  experienced by the Debtor.



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         Debtor called in 5 to 7 minutes prior to the scheduled time. This can be proven very

  easily by the court and via A T and T, if there has been no redacting of or elimination of the

  recorded hearing, which appears to have taken place.

  Furthermore, additional evidence of Debtor presence included:

     1. Presiding Judge approving the Trustee's and Legal Counsel payment of approximately

         23k.

     2. Debtor overhearing the conversation of Herbert Broadfoot II, Esq, Legal Counsel to

         Chapter 7 Trustee, with an individual in the background due to his phone not muted

         resulting in Judicial Clerk instructing Herbert Broadfoot II, Esq. to mute his phone.

     3. Debtor would not have known the presence of additional Legal Counsel initials W. P was

         presence to represent assigned cases.

     Ironically, when Debtor takes a stance as Pro Se, there appears to be a level of retaliation

  which immediately follows such as a payment of sort to financially exhaust Debtor. According

  to the Court Debtor LACKS STANDING, therefore Debtor would assume the ruling regarding

  Application for Compensation would remain the same. (EXHIBIT A)



  Stljst Day of April 2021



  CASSANDRA JOHN       -LANDRY, PR
  678.860.3621
  CJLandry1967@gmail.com




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               IN THE UNITED STATES BANKRUPTCY COURT OF THE
                     NORTHERN DISTRICT OF GEORGIA
                       CERTIFICATE OF SERVICE




  I, CASSANDRA JOHNSON-LANDRY, DEBTOR, CURRENTLY SUBMIT VIA USPS
  OBJECTION TO ORDER AND NOTICE OF RESCHEDULED HEARING FOR APRIL
  14, 2021 AT 10:30AM to all listed parties below. DEBTOR IS OVER THE AGE OF 18
  YEARS, Debtor requests mailings to listed parties on current Bankruptcy Matrix in
  addition.

  R, JENEANE TREACE UST
  Office of The United States Trustee
  75 Ted Turner Drive, S.W., Room 362
  Atlanta, GA 30303


  JOHNATHAN ADAMS, ESQ,
  Office of The United States Trustee
  75 Ted Turner Drive, S.W., Room 362
  Atlanta, GA 30303

  S. Gregory Hays
  296 Peachtree Road NW, STE 555
  Atlanta Ga, 30305

  Herbert Broadfoot II, Esq
  296 Peachtree Road NW, STE 555
  Atlanta Ga, 30305

  8, Day of April 202


  CASSANDRA JOHN ON-LAN
  678.860.3621
  CJLandry1967@gmail.com




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                                 EXHIBIT A
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              IT IS ORDERED as set forth below:



              Date: March 24, 2021

                                                                             Lisa Ritchey Craig
                                                                        U.S. Bankruptcy Court Judge




                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

            IN THE MATTER OF:                               CASE NUMBER

            CASSANDRA JOHNSON LANDRY                        18-55697 -LRC

                                                            IN PROCEEDINGS UNDER
                                                            CHAPTER 7 OF THE
                   Debtor.                                  BANKRUPTCY CODE

                          ORDER AND NOTICE OF RESCHEDULED HEARING

                   It appearing to the Court that Debtor experienced technical difficulties attending a

            telephonic hearing on the Final Report and Applications for Compensation (the "Report

            and Applications," Doc. 332) and that her presence at the hearing was unknown to the

            Court, ills hereby

                   ORDERED that a rescheduled, telephonic hearing will be held on the Report and

             Applications (the "Hearing") on April 14, 2021, at 10:30 a.m. in Courtroom 1204, United




012850                                        18409012862018
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               States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

                        IT IS FURTHER. ORDERED that the Chapter 7 Trustee shall have through and

               including March 31, 2021, within which to file a response to Debtor's objection to the Final

               Report and Applications (Doc. 350) or to amend the Final Report or Applications;

                        IT IS FURTHER ORDERED that, given the current public health crisis, the Hearing

               is telephonic only.

                        NOTICE IS GIVEN that any party may join the hearing by calling 888-363-4734

               and entering access code 2563361 followed by # key;

                        IT IS ORDERED that, pursuant to BLR 5073-1, all parties are prohibited from

               recording or broadcasting the proceedings conducted by the United States Bankruptcy

               Court.

                                                END OF DOCUMENT

               Distribution List

                ALL PARTIES ON THE COURT'S MAILING MATRIX




                                                            2




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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

Ir re: LANDRY, CASSANDRA JOHNSON                                 Case No. 18-55697-LRC




                     Debtor(s)

                                 NOTICE OF TRUSTEE'S FINAL REPORT AND
                                   APPLICATIONS FOR COMPENSATION
                                     AND DEADLINE TO OBJECT (NFR)

         Pursuant to Fed. R. Bankr, P. 2002(a)(6) and 2002(0(8), please take notice that S. Gregory Hays,
Inistee of the above styled estate, has filed a Final Report and the trustee and the trustees professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee's Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                             75 Ted Turner Drive, SW
                                                Atlanta, GA 30303
        Please take further notice that the Court will hold a hearing on the Trustees Final Report and
Applications for Compensation in Courtroom 1204, United States Courthouse, 75 Ted Turner Drive, SW,
Atlanta, Georgia, at 10:10 a.m. on March 11,2021.

        Given the current public health crisis, hearings may be telephonic only. Please check the "Important
infeirmation Regarding Court Operations During COVID-19 Outbreak" tab at the top of the GANB Website pripr
to Ina hearing for instructions on whether to appear in person or by phone.

          Your rights may be affected by the Courts ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one In this bankruptcy case. (If you do not have an
itth,rriey, you may wish to consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the court to consider your views, then you and/or your attorney must attend the
hearing. YIPU may also file a written response to the pleading with the Clerk at the address stated below, but
you are not required to do so if you file a written response, you must attach a certificate stating when, how and
on whom (including addresses) you served the response. Mail or deliver your response so that it is received .)1t
t13 Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.S.
ElEinkruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your
rasponse to the undersigned at the address stated below.


Date. Mailed: 02/02/2021                                  By: /s/ S. Gregory Hays
                                                                              Chapter 7 Trustee
  Gregary Hays
2964 Peachtree Road, NW, Ste. 555
I.' ST Form 101-7-NFR (10/1/2010)
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  Claim    Claimant          Claim Asserted      Allowed Amount of        Interim Payments to         Proposed
  No,                                                       Claim                       Date           Payment,
                                                                                                             -1
  19       Natchez Trace            2,049.87                2,049.87                     0.00             0.00,,
           Homeowners                                                                                          ;
           Association,
           Inc.
  25       The Downs                2,911.35                2,911.35                     0.00                0.00'
           Homeowners
           Association,
           Inc.
                                          To al to be paid to secured creditors:                            0,00
                                          Remaining balance:                                          115,625.7'

           Applications Tor cnapter i tees ana aarninistrative expenses nave oeen flied as follows:
                                                                                                             .n
  Reason/Applicant                                                      Total          Interim        Proposed
                                                                    Requested      Payments to         Payrnert,
                                                                                         Date                  1
  -
                                                                                                                  7
  Trustee, Fees - S. Gregory Hays                                       9,093.44           0.00        9,05.13.44;
  Trustee, Expenses - S. Gregory Hays                                     422.72           0.00          422.72'
  ..                                                                                                       _........-
  Attorney for Trustee Fees (Other Firm) - Herbert C. Broadfoot        23,775.00           0.00       23,775.00 .
  11, PC

                Total to be paid for chapter 7 administrative expenses:                                33,291,16
                Remaining balance:                                                                     82,334.55

           Applications for prior chapter fees and administrative expenses have been filed as follows:
  Fteason/Applicant                                               Total            Interim        Proposed
                                                                  Requested        Payments to    Payment
                                                                                   Date

                                                     None

                Total to be paid for prior chapter administrative expenses:                                   0.00
                Remaining balance:                                                                      82,334.55

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
      creditors.
 ....          Allowed priority claims are:
                                                                                                          _
   Claim       Claimant                             Allowed Amount       Interim Payments             Proposel
  No.                                                       of Claim               to Date             Payment




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 Claim       Claimant                              Allowed Amount         Interim Payments                Proposed
 No.                                                      of Claim                  to Date               Paymem

 .5          Department of the Treasury                         0.00                     0.00                  0.00
 23          Cassandra Johnson Landry                           0.00                     0.00                  0.00
             For Alliance For Change
                                                                                                               --
                                                 Total to be paid for priority claims:                          0.00
                                                 Remaining balance:                                        82,334.55

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $187,192.71 have been allowed and
      will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 44.0 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
 Claim       Claimant                               Allowed Amount        Interim Payments                Proposed
 No.                                                       of Claim                 to Date               Payment
             Bureaus Investment Group                     13,719.40                      0.00              6,034.33
             Portfolio No 15 LLC
  3          Valeri Bumough                               30,060.95                      0.00             13,221.97
             American Express National                    13,312:03                      0.00              5,855.14
             Bank
  6          Midland Funding LLC                            9,000.99                     0.00              3,958.98
  9          Quantum3 Group LLC                               182.60                     0.00                 80.31
  12         Bank of America, N.A.                        22,656.01                      0.00              9,964.98
  13         Bureaus Investment Group                     11,439.52                      0.00              5,031.54
             Portfolio No 15 LLC
  14         CACH, LLC                                    33,646.86                      0.00             14,799.18
  15         Woodbridge Mortgage                                 0.00                    0.00                   0.00
             Investment Fund 3A, LLC
  16         Emory Eastside Medical                           150.00                     0.00                  65.98
             Center
             Georgia Department of                        42,634.37                      0.00             18,752.23
  ..         Community Health
  21         Bureaus Investment Group                     10,389.98                      0.00              4,569.91
             Portfolio No 15 LLC
  22         Alliance For Change Through                         0.00                    0.00                   0.00
             Treatment LLC




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 Claim       Claimant                             Allowed Amount        Interim Payments               Proposed i
 No.                                                     of Claim                 •to Date              Payment .
 22-2        Alliance For Change Through                      0.00                    0.00                    0,00
             Treatment LLC
 24          Attachment and Bonding Ctr.                      0.00                    0.00                    0.00
             Of Atlanta
 24-2        Attachment and Bonding Ctr.                      0.00                    0.00                    0.00
             Of Atlanta
                    Total to be paid for timely general unsecured claims:                               82,334.55
                    Remaining balance:                                                                       0.00

              Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
      be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent plus
      interest (if applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim      Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                    of Claim                 to Date               Payment

                                                       None

                    Total to be paid for tardily filed general unsecured claims:                                0.00
                    Remaining balance:                                                                          0.00

               Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
      ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
      after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
      dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest Of
      applicable).
               Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
      ordered subordinated by the Court are as follows:

  Claim      Claimant                             Allowed Amount        Interim Payments                Proposed
  No,                                                    of Claim                 to Date                Payment

                                                       None

                                             Total to be paid for subordinated claims: $                        0,00
                                             Remaining balance:                                                 O.00




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                                               Prepared By: Is/ S. Gregory Hays
                                                                         Chapter 7 Trustee
   S. Gregory Hays
   2964 Peachtree Road, NW, Ste. 555
   Atlanta, GA 30305
   (404) 926-0060



    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 6 C.F.R. § 1320.4(a)(2) applies.




usT Form 101-7-NFR (10/1/2010)
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                                        Herbert C. Broadfoot II, P.C.
                                           2964 Peachtree Road
                                        Buckhead Centre - Suite 555
                                          Atlanta, Georgia 30305

3, Gregory Hays, Chapter 7 Trustee                                                     January 14, 2021,
:'-leys Financial Consulting, LLC
 ?.964 Peachtree Road, N.W.
 Suite 555
 A.tIanta, GA 30305



Vlatter No. 43-1
 zIssan.dra Johnson Landry, Debtor 18-55697-LRC •


Fees:                                                                             Hours

)1!02/19             HCB     Office conference with Trustee to discuss             0.90         $337.50
                             representation in Chapter 7 base of Cassandra •
  f
                             Johnson Landry, Debtor (.4); Review file and •
                             docket to determine status of case, action needed
                             (.5)

01/07!,19            HCB     Prepare and file Application to EmployHerbert •..     )0.70         $262:50
        I.
                             C. Broadfclot 11, P.C. (HCBPC) as attorney for • -
                             Trustee (.7)

D 1108119 ?            HCB   Prepare and upload Order granting Application to      0.50          $187.50
                             Employ attorney for Trustee (.5)

01/10119               HCB   Prepare for hearing on Debtor's Motion to      •       4.70       $1,762.50
                             remove Trustee (.8); Attend hearing on Motion to
                             remove Trustee (3,0); Prepare and upload Order
                             denying Motion to remove Trustee (7); Receipt
                             and review of Debtor's Objection to employment
                •-••         of HCBPC as attorney for Trustee (.2)
              .? )
                       HCB   Receipt and review of Order denying Motion to          0.10           $37.50
                             remove Trustee and requiring Debtor to attend
                             341 Meeting and.to cooperate with Trustee (.1)

 )1/17/19      ki•     HCB   Receipt and review of Debtor's Objection to            0.70          $262.50
                             Order denying Motion to Remove Trustee (2),
                             Receipt and review of Debtor's Notice of Fraud,
                             Intent to Commit Fraud (.5)
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Cassandra Johnson Landry, Debtor 18-55697-L.RC                                                Page 2


1121/19 F.,        HCB     Conference with Trustee regarding insurance       0.30           $112.50
     4).                   policy assets, abandonment of properties,
                           objection to Debtor's claims of exemptions (.3)

0723/19 sC         HCB     Review and sign off creditor's Order granting     0.20            $75.00
                           Motion for Relief from Stay (.2)

02/03/19           HCB     Telephone call with Ms. Euell, Senior Legal       0,40           $150.00
                           Process Coordinator, Northwestern Mutual
                           concerning Debtor's insurance policies, and
                           followup email to Ms. Euell to confirm
                           conversation, request for information (.4)

                   HCB     Prepare and file Trustee's Objection to           1.00            $375.00
                           Exemptions (1.0)

VA 4119 *          1-103   Receipt and review of Debtor's Notice of          020              $75.00
                           Conversion from Chapter '7 to Chapter 13 (.2)

02/ 1 f,'1.9 LtA   HCB     Email from Ms. Euell, Northweseem Mutual          0.40            $150.00
                           Senior Legal Process Coordinator, providing
                           requested information about insurance policies
                           and conference with Trustee concerning assets
                           (.4)

 02/22(19 i. HCB           Receipt of Order and Notice of Hearing of          0.30           $112.50
                           Conversion from Chapter 7 to Chapter 13 (.1);
                           Review Chapter 13 Trustee's Response to
                           Debtor's Request to Reconvert (.2)

 02/2S,(19     , JICB      Note Debtor's Change of Address filed (.1)        70.00         No. charge

 03/21119          HCB     Email to attorney Mandy Campbell representing      0.20             $75.00
                           Chapter 13 Trustee regarding Northwestern
                           Mutual insurance policies (.2)

 0.5/22/ I 9       HCB      Review of Complaints filed by and against         0.50            $187,50
                            Debtor Adversary No. 19-05217; Adversary No.
                            19-05218 (.5)

 06/04/19          HCB     Review of Order denying Debtor's Motion to         0.30            $11230
                           Reconvert case to Chapter 13 (.3) '

 fit.)/10/19       HCB      Telephone call with Ms. Angela Euell,             0.40            $150.00
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                                                                                     •
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Cassondra Johns° Landry, Debtor 18-55697-LRC                                                Page 3


                       Northwestern Mutual Senior Legal Process
                       Coordinator, regarding values of life insurance
                       and variable annuity policies (.2); Email to Ms.
                       Buell to confirm request (.2)

0011/19          HCB   Review Response of Debtor to Order Denying          0.30            $112.50
                       Debtor's Motion to Reconvert Case (.3) •• •

01/1.:1/19 kHCB        Review of multiple Orders entered 7/12/2019,        0.80            $300.00
                       including Order and Notice of Hearing on
                       Objection to Employment of HCBPC as attorney
                       for Trustee; calendar hearing (8)    •

07/If5/19 ;4"-   HCB   Email to Ms. Euell of Northwestern Mutual           0.20             $75.00
                       requesting current information on policies (.2)

17/25/19         HCB   Receipt and review of Northwestern Mutual           .0.30           $112.50
                       statement of current values of policies (.3)

37/25/19 c.11-   HCB    Conference with Trustee concerning insuranCe      • 0.50           $187.50
                        and annuity policies - values, tax aspects,
                        exemptions (.5)

03/1)/19         HCB    Review Order reschedulinzIlearing on Debtor's       0.20             $75.00
                        Objection to Employment of HCBPC and
                        calendar new date (.2)

 09/23/19.       HCB    Review docket in preparation for 9/26/2019          0.20             $75.0C
                        hearing on Debtor's Objection to Employment
                        (.2)

 09/25/19        HCB    Prepare for hearing on Debtor's Objection to        1.00            $375.0(
                        Employment (1.0)

 09/2A/19        HCB    Attend hearing on Debtor's Objection to             1.50            $562.50
                        Employment of HCBPC as attorney for Trustee
                        (1.5)

 09/27/19 $ 4'‘ HCB     Prepare and upload proposed Order granting           0.50           $187.50
                        Application to Employ HCBPC as attorney for
                        Trustee (.5)

 1111.3/19       HCB    Prepare, file and serve Notice of Hearing on         0.90           $337.50
                        Trustee's Objection to Exemptions (.9)
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M atm. No. 43-1                                                                   January 14, 2021
eLzsEndra Johnson Landry, Debtor 18-55697-LRC                                               Page 4


11/21/19,46„/̀% HCB     Review of Orders dismissing adversary              0.50           $187.50
                        proceedings filed by Debtor against mortgage
                        companies (.5)

11/22/19      HCB       Telephone call from attorney Chris Gunnells        0.60           $225.00
                        regarding claim for personal injury on behalf of
                        Debtor (.3); Email to attorney Gunnells to send
                        sample application for employment of special
                        counsel (.3)

11f26119 60, HCB        Review of Order rescheduling hearing on            0.60           $225.00
                        Trustee's Objection to Exemptions to 1/9/2020
                        (.1); Conference with Trustee regarding email
                        from Jeneane Treace concerning status report-and
                        Debtor's allegations, Notice of Proposed
                        Abandonment, reset hearing on exempt property
                        ( 5)

12104119       HCB      Conference with Trustee and preparation of         1.50            $562 .:50
                        Notice ofAbandonment and Response to
                        Debtor's Motion Requesting Trustee's Report
                        (1.5)

 1.2/04.'19 A/•/? HCB   Revise and finalize pleadings filed by Trustee     0.50            $187,50
                        ( 5)

 12120,1 (94K HCB wit Review of Debtor's Motion for Delay (.1)              0.10            $37.50

 01,'07,0 (0‹. HCB      Review of Order Rescheduling Hearing and            0.20            $75,00
                        calendar hearing date (.2)

 01/09120 tiv< HCB      Review of Notice of Removal of Attorney for         0.80           $300.00
                        Trustee (.2); Review of Amended Operative
                        Complaint filed by Debtor in U.S. District Court
                        adding Trustee as Defendant (.6)

 01'10/20      HCB       Review of Order Dismissing Notice of Removal       0.50           $187.50
                         of Trustee's Attorney (.2); Email from and to
                         Jeneane Treace concerning Trustee added to U.S.
                         District Court action (.3)

 0111/20 pgi HCB         Research regarding Barton doctrine (.5)            0.50            $187.30

 (1 ! 13/20    HCB       Legal research regarding Barton doctrine,          0.70            $262.50
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Matter No. 43-1                                                                    January 14, 2021
C aaanclra Johnson Landry, Debtor 18-55697-LRC                                               Pap 8


07/0/20       HCB       Email to Debtor in response to her inquiry about   0.20             $75.00
                        disbursements by Trustee from estate account
                        (.2)

P/21/20 Ln4 HCB         Review of Order Denying Debtor's Objection to      0.30            $112.50
                        prior Order denying Motion to Dismiss case (.3)

111291.20 LI( HCB       Review Claims Register in preparation for          1.00            $375,00
                        Objections to Proofs of Claim (1.0)

07130/20       HCB      Review of Debtor's Objection to Order (.2)         0.20              $75.00

)1/12/20,      HCB      Prepare objection to claim (5)                      0.50            $187.50

 1/11/20 s'i.(2,HCB     Continued preparation of objections to claims       1.00            $375..0)
                        (1.0)

  1/113/20/1/1 (c HCB   Continued preparation of objections to claims       0.50            $187.50
                        ( 5)

0.1/20/20      HCB      Continued preparation of objections to claims       0.50            $187.50
                        ( 5)
0V21;2044c HCB          Continued preparation of objections to claims       1.00            $375.00
                        (1.0)

0V26,20 bK. HCB         Finalize, file and serve Objections to Claims,      1.50            $562.50
                        Notice of Hearing (1.5)

0/10,20        HCB      Review of Order Denying Debtor's Objection to       0.20             S75,00
                        Order dated 7/21/2020 (.2)

Oi;/25)20       HCB     Review Response of Georgia Dept. of                 0.30            $112.50
                        Community Health to Trustee's Objection to
                        Claim (.3)

09/30/20       HCB       Review change of address filed by Debtor (.1)      '0.10             S37.50

09/30/20        HCB     Prepare for hearing on Trustee's Objections to      0.80            $300.00
                        Claims (.8)

10/01/20       HCB      Attend telephonic hearing on Trustee's             , 1.20           $450.00
                        Objections to Claims (1.2)
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                     Application for Attorney Compensation Page 18 of 18

Ividtr No. 43-1                                                                            January 14, 2021
Cassandra Johnson Landty, Debtor 18-55697-LRC                                                        Page 9


L I 41;20     HCB      Prepare and file Withdrawal of Trustee's                     0.60           $225.0
                       Objection to Claim of Georgia Dept. of
                       Community Health (.6)

12'020        HCB      Review of Order Granting Trustee's Motion to                 0.30           $112..50
                       Disallow Claims (.3) '

01,05/21      HCB      Prepare Application for Compensation for                     4.00          81,500.00
                       Attorney for Trustee (4.0)

                                                      Hours:                    63.40
                                                   Total fees:                                   $23,775.00


FIULag Summary

   Previous balance                                        $0.00
   Payments & adjustments                                   0.00
   Current fees & expenses                             23,775.00

   Tot:al now due                                     $23,775.00


                      Please make checks payable to Herbert C. Broadfoot II, P.C.
                                      Tax ID No. XX-XXXXXXX
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                 CLAIMS TRANSFERRED FROK NOTH APPLICATION FOR COMPENSATION AND CLAIMS SUBMITTED


      iol         CREDITOR          CLAIM      CLAIM   ALLOWED    INTERIM    PROPOSED     OJECTION         ABANDONE
            t                       ASSERTED   TYPE    AMOUNT     PAYMENTS   PAYMENT                       BY CHAPTEI
                                                       OF CLAIM   TO DATE                                  TRUSTEE


                  THE DOWNS         2911.35    S       2911.35    0.00       0.00       SUBMITTED          N
SLIFJ:01— ED      HOA C/O LAZEGA                                                        2/8/19 BY          2/15/2019
41 ...-AL, 1,g    AND JOHANSON                                                          CILANDRY           (RELATED REI
      14'.3 L     P.O.BOX 250800                                                        (ACCORDING TO      PROPERTY
                  ATLANTA , GA                                                          DOCKEY ACTIVITY    BURDENSOM
                  30325                                                                 LOG RESPONSED
                  BY BRADLEY W.                                                         WERE DUE IN 30
                  GRIFFIN                                                               DAYS PLUS AN
                  (PROPERTY: 1440                                                       ADDITIONAL
                  HIGHLAND LAKE                                                         THREEE DAYS.
                  DRIVE,                                                                DOCUMENTATION
                  LAWRENCEVILLE                                                         SUPPORTING
                  GEORGIA                                                               FALSE CLAIM
                                                                                        UPLOADED INTO
                                                                                        BRC CASE. COPIES
                                                                                        OF MONEY
                                                                                        ORDERS
                                                                                        REFLECTING
                                                                                        PAYMENTS)
                                                                                        ITEM (150)
                                                                                        MORTGAGE
                                                                                        FRAUD,
                                                                                        INVESTIGATION
                                                                                        DENIED BY BRC,
                   BUREAUS          13719,40    U      13719.00   0.00       6034.33    CAPITAL ONE
            ED     INVESTMENTS                                                          ?
                   GROUP NO 15

                  VALERI            30060.95    u      30060.95   0.00       13221.97   SUBMITTED          N
            ED    BURNOUGJH                                                             DOCUMENTATION
                  DELONG                                                                SHOWING PROOF
                  CALDWELL                                                              OF PAYMENT,
                  I3RIDGERS                                                             DOCUMENTATION
                  FITZPATRICK                                                           UPLOADED INTO
                  AND BENJAMIN                                                          BRC
                  (SUBMITTED BY
                  CHARLES                                                               CLIENT IS
                  BRIDGERS)                                                             DECEASED AS OF
                                                                                        9/2020




                  AMERICAN          13312.03    U      13312.03   0.00       5855.14    INDENTITY THEFT
            ED    EXPRESS                                                               POLIOCE REPORT
                  (SUBMITTED BY                                                         DATED 3/9/08
            1     BECKET AND LEE,
                  MUKHERJEE,
                  SABARI

                                                             1
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                   CLAIMS TRANSFERRED FROK NOTH APPLICATION FOR COMPENSATION AND CLAIMS SUBMITTED

•CIA. VI            CREDITOR          CLAIM       CLAIM   ALLOWED     INTERIM    PROPOSED   OBJECTION         ABANDONE
 /41.,!Nifsl IR                       ASSERTED    TYPE    AMOUNT      PAYMENTS   PAYMENT                      CHAPTER 7
                                                          OF CLAIM    TO DATE                                 TRUSTEE


                    DEPARTMENT OF     5000.00     U       5000.00     0.00       0.00       IRS REVOKED       N
            — ED    TREASURY (FILED                                                         CLAIM.
                    BY THE IRS)                                                             ID THEFT
            T)




                    MIDLAND           9000.99     U                   0.00       3958.98    SUBMITTED
            — ED    FUNDING LLC,
                    SUBMITTED BY                                                            ID THEFT
             79     MIDLAND                                                                 REPORT
                    CREDIT                                                                  SUBMITTED
                    MANAGEMENT.



                    WILMINGTON        199596.30   S       199596.30   0.00       0.00       SUBMITED          Y
           'TED     SAVINGS FUND                                                                              2/15/19
           !I       C/OCARRINGTON                                                           MORTGAGE          (RELATED RE
            65      (2969 SWEET                                                             FRAUD             PROPERTY
                    BRIAR WALK                                                              FALSE CLAIM       BURDENSOK
                    SNELLVILLE GA                                                           HOME STOLEN       LIFT OF STAN
                    30039)                                                                  AND SOLD WHILE    GRANTED
                                                                                            IN BANKRUPTCY
                                                                                            UNBEKNOWST TO
                                                                                            DEBTOR AND CO
                                                                                            DEBTOR.
                                                                                            DEBTORS WERE
                                                                                            NOT NOTIFIED
                                                                                            UNTIL PRIVATE
                                                                                            INVESTIGATION
                                                                                            TOOK PLACE.
                                                                                            HOUSE WAS NOT
                                                                                            ABANDONED BY
                                                                                            DEBTOR AND CO'.
                                                                                            DEBTOR.
                                                                                            UTILITIES WERE
                                                                                            ON AND
                                                                                            FRAUDULENT
                                                                                            1098'S UPLOADED
                                                                                            IN BRC CASE.
                                                                                            FRAUD
                                                                                            INVESTIGATION
                                                                                            DENIED.




                                                                2
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                        CLAIMS TRANSFERRED FROK NOTH APPLICATION FOR COMPENSATION AND CLAIMS SUBMITTED

                         CREDITOR               CLAIM       CLAIM   ALLOWED      INTERIM    PROPOSED   OBJECTION      ABANDONI
              .                                 ASSERTED    TYPE    AMOUNT       PAYMENTS   PAYMENT                   CHAPTER 7
                                                                    OF CLAIM     TO DATE                              TRUSTEE




                         BANK OF                22656.01    U       22656.01     0.00       9964.98    Y
              'ED        AMERICA                                                                       ID THEFT
                         PLED BY BOA)
              .3

                         BUREAU                 11439.52    U       11439.52     0.00       5031.54    Y
              -L()       INVESTMENT                                                                    ID THEFT
                         GROUP NO.
              12         15(FILED BY PRA
                         REECEIVABLES)




                         CACH LLC,              33646.86    U       33646.86     0.00       14799.18   NI             N
              To         (FILED BY                                                                     SUBMITTED
                         RESURGENT                                                                     PROOF OF
              13         CAPITAL                                                                       PAYMENTS
                         SERVICES)

                                            L
                         WOODBRIDGE             6/11 /18    U       Sold         0.00       0.00       Y              Y
              If I)      MORTGAGE               CLAIM 15            9/ 12/1 8                                         (BUT
                         INVESTMENT             223693.54           (STILL IN                                         UNSECURED
                         FUND 3A LLC.           9/12/18             CHAPTER                                           3554 -
                         (FILED BY ePOC)        CLAIM 15            13)                                               3556HABERS
I )V,-II31"              Electronic Proof       AMENDED                                                               AT NORTHLA
                         of Claim               CLAIM)                                                                BLDG H

                         21602977               150.00      U       150.00       0.00       65.98      y              N
              '.- EE)    EMORY EASTSIDE                                                                PAID
                         MEDICAL
              '7         CENTER
                         (ENTERED BY
                         RESURGENT
                         CAPITAL
                         SERVICES)
                         WILMINGTON             139245.29   S       139245.29    0.00       0,00       Y              Y
              TEL        TRUST                                                                         MORTGAGE
                         SELECT PORT,                                                                  FRAUD
              13         SERVICING INC
                         (PILED BY
                         JOSEPHINE
                         SALMON FROM
                         ALDRIDGE PITE
                         LLC


                                                                             4
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                      CLAIMS TRANSFERRED FROK NOTH APPLICATION FOR COMPENSATION AND CLAIMS SUBMITTED

1:1-Al h. I            CREDITOR            CLAIM       CLAIM   ALLOWED.   INTERIM    PROPOSED     OBJECTION             ABANDON!
              I.                           ASSERTED    TYPE    AMOUNT     PAYMENTS   PAYMENTS                           CHAPTER 7
                                                               OF CLAIM   TO DATE                                       TRUSTEE
                       VERIPRO             64540.89    S       65540.89   0.00       0.00         Y                     Y
              11 3     SOLUTION                                                                   (MORTAGE
              D9       (FILED BY                                                                  FRAUD)
                       VERIPRO
                       SOLUTIONS INC,)
                       2NOMORTGAGE
                       ON 1440 HLD

                       NATCHEZ TRACE       2049.87     S       2049.87    0.00       0.00         Y
               ED      HOA                                                                        ALL RECORDS OF
              ;        (FILED BY G.                                                               PAYMENTS SENT
              4,5      LANIER
                       COULTER)




                       GA. DEPT OF         42634.37    U       42634.37   0.00       18,5782.23   V                     y
              - El)    COMMUNITY                                                                  ALL SUPPORTING
                       HEALTH DCH                                                                 DOCS WERE SENT
              7.i      (FILED BY                                                                  TO INCLUDE
                       WHITNREY W.                                                                MODIFIED
                       GROFF)                                                                     TRANSCRIPTS
                                                                                                  FROM
                                                                                                  ADMINISTRTATIVE
                                                                                                  HEARING
                        BUREAUS            10389,98    U       10389.98   0.00       4569.91      Y
              -ED       INVESTMENT                                                                ID THEFT
              3         GROUP
              42        PORTFOLIO NO
                        15 (FILED BY PRA
                        RECEIVABLES)
                        ALLIANCE FOR       375000.00   U       0.00       0.00       0.00         JUDGE DENIED          Y
              '11I)     CHANGE             (MONEY                                                 CLAIM AFTER ALL
              1         THROUGH            OWNED                                                  DOCUMENTATION
              21        TREATMENT LLC,     TO                                                     WAS SUBMITTED
                        C/O CASSANDRA      CREDITOR
                        JOHNSON            LOANED
                        LANDRY             TO
                                           AGENCY)
                          CASSANDRA        42634.37    U       0.00       0.00       0.00         JUDGE DENIED          Y
              -ED         JOHNSON-                                                                CLAIM AFTER ALL
                          LANDRY FOR       (MONEY                                                 DOCUMENTATION
               70         ALLIANCE FOR     OWED TO                                                WAS SUBMITTED
                          CHANGE LLC,      AGENCY BY
                          (FILED BY        DCH)
                          CASSANDRA
                          JOHNSON-
              .........._ LANDRY                                                                                    _


                                                                      5
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          CLAIMS TRANSFERRED FRO< NOTH APPLICATION FOR COMPENSATION AND CLAIMS SUBMITTED

I          CREDITOR         CLAIM        CLAIM     ALLOWED    INTERIM    PROPOSED   OBJECTIONS       ABANDONI
I ER                        ASSERTED     TYPE      AMOUNT     PAYMENTS   PAYMENTS                    CHAPTER 7
                                                   OF CLAIM   TO DATE                                TRUSTEE
                            2,24700.00   U         0.00       0.00       0.00       JUDGE DENIED     Y
I"-FEI)    ABC OF ATLANTA   (MONEY IS                                               PAYMENT TO ABC
1)         LLC.             OWED TO                                                 LLC.
CIM        CLAIMED          AGENCY)
           SUBMITTED BY
           CASSANDRA
           JOHNSON-
           LAN DRY
           (FISCAL
           MANAGER FOR
           DFACS DID NOT
           FILE CLAIM)
           (21484451)       2911.335     S         2911.35                                           N
I' - EC    THE DOWNS        SAME                                                                     2/15/19
11         HOA              AMOUNT       (WHY IS
!I         LAZEGA AND       AS PRE-      THIS
           JOHANSON LLC     PETITION     ALLOWED
           SUBMITTED BY     (JUST        TO BE
           (BRADLEY         WANTED       FILED
           GRIFFIN)         TO           TWICE?)
                            COLLECT
                            TO
                            EXHAUST
                            ESTATE)
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          IN THE UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORG'S,'




  CASSANDRA JOHNSON-LANDRY                                                     CHAPTER 7
  DEBTOR
                                                                                      --575-41.   z



  OBJECTION TO APPLICATION OF HERBERT BROADFOOT 11 ESQ, FOR ALLOWANCE
  OF COMPENSATION AS COUNSEL FOR THE CHAPTER 7 TRUSTEE


            Debtor currently objects to the Application of Herbert Broad foot II ESQ, for allowance of

  Compensation as Counsel for the Chapter 7 Trustee.

      A. According to the Handbook for Chapter 7 Trustees the following applies:

  Attorneys and accountants shall not be compensated for performing the statutory duties of the

  trustee. I I U.S.C. § 704, Fed. R. Bankr. P. 2015(a). The following list includes examples of

  services considered to fall within the duties °fa trustee:

    ) Preparing for and examining the debtor at the meeting of creditors- in order to verify factual

  matters

   2) Examining proofs of claim and filing routine objections to the allowance of any claim that is

  improper

   3) investigating the financial affairs of the debtor

  4) Furnishing information to parties in interest on factual matters

   5) Collecting and liquidating assets of the estate by employing auctioneers or other agents and

  soliciting Offers-
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  6) Preparing required reports

  7) Performing banking functions; and Handbook for Chapter 7 Trustees Page 4-22

   3) In appropriate cases, filing applications for employment of professionals and supervising
                                                                                                       E

  t hose   professionals.

  9) Tasks completed by Trustee's Counsel should NOT be billed at a higher rate if the Chapter 7

  Trustee is capable of performing the same task.

            B. The aforementioned trustee duties are not eompensable as legal or accounting services

  unless sufficiently documented to show that special circumstances exist. Given the Debtor was

   ..enied requests for fraud investigations special circumstances do NOT exist. (EXHIBIT A)

  1/7/2019, 1/2/2019, 1/8/2019, 1/24/2019, 2/8/2019,2/15/2019, 3/27/2019,6/10/2019,3/27/20,

  1/5/2021, 11/4/2020, 8/21/2020, 08/26/20, 2/12/2020, 12/4/2019, 1/11/2020, 1/13/2020 (1),

   1/13/2020(2). 1/13/2020(3) 11/26/2019, 11/22/2019, 1/20/2020, 1/24/2020, 1/28/2020, 1/29/

  1020, 2/3/2020, 2/4/2020, 2/12/2020, 2/10/2020, 2/6/20202, 12/4/2019, 1/10/2020, 11/21/2019,

  M0/2020,4/9/2020, 3/27/2020, 3/11/2020, 3/05/2020, 3/4/2020 4/16/2020, 7/9/2020, 6/3/2020,

  6/2/2020,5/27/2020,5/19/2020, 4/25/2020, 7/17/2020, 7/29/2020, 7/30/2020, 8/12/2020).

  Furthermore, it appears words were used interchangeably/substituted for wording outlined within

  the Chapter 7 Trustee Handbook in order validate billing.

      C. Chapter 7 Trustee did not provide an explanation of payment requested as it relates to

            defining each expense which provided the accumulative amount listed of 422.72 and also

            how the amount o19093.44 was derived, This information was requested previously

            within the Motion to Compel submitted by Debtor (EXHIBIT A)

      D. The status of the Chapter 7 Trustee's list of Abandonments as reflected within Form I

            /Individual Estate Property Record and Report, BUT not addressed within the
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         Application for Compensation , but would have been considered as payments, if collected

         could have been applied towards Debtors alleged debts, which included:

      I. Alliance for Change through Treatment LLC. which 3554-3556 Habersham at Northlake

         Bldg H is referenced and 3547 Habersham at Northlake Bldg F both residing in Tucker

         Ga 30084.

     2. Adversarial Action for Debtor's Personal Injury Claim dates of 5/22/2017 (Driver

         currently deceased due to suicide on 11/1/2017 and auto injuries from accident date

         11/29/2016.

     3. Adversarial Action regarding the modification of Transcripts from the 2016

         Administrative Hearing for Alliance for Change Through Treatment LLC. which led to

         an inactive stay status of the 30 million dollars Adversarial Action against the

         Department of Community Health.

     4. The Abandonment of Attachment and Bonding Center of Atlanta LLC, which is owed a

         substantial amount of money from the Department of Children and Family Service

         totaling over 2million dollars.

     5. Adversarial Action of Auto Accident involving Co-Debtor who is not a part of Debtor's

         Bankruptcy action.

      E. Due to the excessive amount of ID theft, Submitted Grid (EXHIBIT B) identifies

         unsecured creditors and agreed upon anount for payments without Fraud Investigation

         based on submitted Police Report as much of the activity on unsecured accounts occurred

         immediately after Debtor's Id Theft (EXHI B I T C).
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        Debtor is requesting the court to review all alleged debts due to the submitted Proof of ID

        Theft which was recently uncovered. This includes a Bankruptcy filed in the Courts of

        Gwinnett County identifying another individual with both my first and maiden name,

        This information was brought to my attention in addition to additional documents

        reflecting appeared ID THEFT.




        101hDay of March 2021




        CASSANDRA JOFINSON+LANDRY, PRO SE

        678.860.3621

        CjIandry 1. 967@gmail.com




                                                4
